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Attorney Registration and Disciplinary Commission
of the
Supreme Court of Illinois
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Chicago

2/12/2025

Re: Adam David Kirschner
Attorney No. 6286601

To Whom It May Concern:

The records of the Clerk of the Supreme Court of Illinois and this office reflect that Adam
David Kirschner was admitted to practice law in Illinois on 11/10/2005; is currently
registered on the master roll of attorneys entitled to practice law in this state; has never been
disciplined and is in good standing.

Very truly yours,
Lea 8. Gutierrez
Administrator

LL:
By:

Andrew Oliva
Registrar

